                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                    3:11-cr-111

UNITED STATES OF AMERICA                  )
                                          )
                                          )
            v.                            )                 ORDER
                                          )
                                          )
NICHOLAS LOWERY (2)                       )
__________________________________________)


       THIS MATTER is before the Court upon the Government’s Motion to dismiss Count

Six of the Indictment without prejudice, pursuant to Fed. R. Crim. P. 48(a). (Doc. No. 79).

       IT IS ORDERED that the Government’s motion is GRANTED and Count Six of the

Indictment against Nicholas Lowery is dismissed without prejudice.



                                                     Signed: January 31, 2012




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